                     UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION
                              No. 5:24-cv-500


UNITED SOVEREIGN AMERICANS, INC.; and )
RICHARD YOST,                                )
                                             )
                Petitioners,                 )
v.                                           )
                                             )
NORTH CAROLINA STATE BOARD OF                )     REPLY IN SUPPORT OF
ELECTIONS; JOSHUA STEIN, in his official     )     STATE DEFENDANTS’
capacity as Attorney General of North        )      MOTION TO DISMISS
Carolina; and MERRICK GARLAND, in his        )
official capacity as Attorney General of the )
United States,                               )
                                             )
                Respondents.                 )
                                             )
                                             )




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                                        INTRODUCTION

       Petitioners’ lawsuit has multiple insurmountable problems, and their response does

nothing to solve them.

       First, Petitioners seem to acknowledge that Attorney General Stein is not a proper

defendant and should be dismissed. Opp. 1 n.1. But Attorney General Stein is not the only party

over whom this Court lacks jurisdiction. This Court also lacks subject-matter jurisdiction over

the State Board because it has sovereign immunity. Finally, Petitioners have failed to show that

their vote-dilution theory is concrete and specific enough to confer standing as to both State

Defendants.

       Nor are Petitioners entitled to mandamus relief. Because federal courts cannot issue writs

of mandamus to state officials, as a threshold matter, Petitioners cannot obtain their relief here.

That problem is only compounded by Petitioners’ inability to articulate what the State Board is

allegedly doing wrong. Mandamus relief requires a plaintiff to establish a clear duty on the part

of the government actor and a clear entitlement to relief. Yet even now—after having filed a

petition and a response brief—Petitioners still have not explained what the State Board is doing

to violate federal law and what this Court should order to remedy any alleged violation. These

omissions doom Petitioners’ mandamus claim.

       Petitioners’ claims against Attorney General Stein and the State Board should be

dismissed.

                                           ARGUMENT

I.     Petitioners Have Not Demonstrated That This Court Has Jurisdiction Over the
       Petition.

       A.      None of Petitioners’ Arguments Overcome Sovereign Immunity.




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       Petitioners seem to acknowledge that the principles of sovereign immunity generally

apply to the State Board. Opp. 9-11. But they argue that the Ex Parte Young exception applies

here. Id. at 10-11. They are mistaken.

       First, the Ex Parte Young exception applies only to state officers, not state agencies.

Bragg v. W. Va. Coal Ass’n, 248 F.3d 275, 292 (4th Cir. 2001). The exception is premised on

the notion that “when a State officer violates federal law, he is stripped of his official character,

thus losing the ‘cloak’ of State immunity.” Id. (quoting Idaho v. Coeur D’Alene Tribe, 521 U.S.

261, 288 (1997) (O’Connor, J., concurring in part and concurring in the judgment). State

agencies, on the other hand, continue to enjoy traditional sovereign immunity from suit in federal

court. Hafer v. Melo, 502 U.S. 21, 25 (1991).

       Here, Petitioners have not continued to assert claims against any state officers 1—only the

North Carolina State Board of Elections. And they do not dispute that the State Board of

Elections is an arm of the State of North Carolina that falls within the purview of the Eleventh

Amendment. Opp. 9-11; see also Br. 4-5. Because the State Board has sovereign immunity, the

lawsuit should be dismissed.

       Second, even if Petitioners had named the members of the State Board instead of the

State Board itself, Ex Parte Young would not apply to this action. The Ex Parte Young exception

allows only lawsuits against officers seeking prospective injunctive or declaratory relief. Bragg,

248 F.3d at 292. Here, of course, Petitioners have not sought injunctive or declaratory relief but,

instead, a writ of mandamus. Petitioners insist that mandamus relief is the same thing as

prospective injunctive relief. Opp. 10-11. But Petitioners’ own allegations undermine that



1       In response to State Defendants’ explanation that Attorney General Stein plays no role in
overseeing the conduct of federal elections (Br. 12), Petitioners seem to have conceded that he is
not a proper defendant in this action. Opp. 1 n.1.


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assertion. Petitioners concede that they have opted to seek mandamus relief specifically because

“injunctive and/or declaratory relief is inapplicable or [in]appropriate in this matter.” Pet. (D.E.

1) ¶ 193. If mandamus and injunctive relief were the same, mandamus would not be the sole—

or even an alternative—way forward.

       Separately, Petitioners fail to cite any case that holds that the Ex Parte Young exception

applies to actions brought under the All Writs Act. 2 Opp. 10-11. Nor could they—federal courts

have held that Congress did not abrogate the States’ traditional sovereign immunity through the

All Writs Act. In re Baldwin-United Corp., 770 F.2d 328, 340 (2d Cir. 1985) (“The All-Writs

Act . . . cannot be used to circumvent or supersede the constitutional limitations of the Eleventh

Amendment.”); see also Ahmed v. Kable, No. 21-3333, 2023 U.S. Dist. LEXIS 170718, at *25-

26 (D.D.C. Sept. 25, 2023) (holding that neither 28 U.S.C. § 1361 nor § 1651 waives sovereign

immunity); see also Br. 6.

       This Court should dismiss this lawsuit with prejudice because the State Board has

sovereign immunity from Petitioners’ sole claim against the agency.

       B.      The Petition Does Not Establish Standing.

       Because Petitioners have failed to establish an injury or redressability, this Court should

dismiss the Petition for lack of standing as well.

               1.      Petitioners’ allegations do not establish an injury.

       Petitioners’ brief confirms that their alleged injury is grounded in fears about potential

vote dilution. Opp. 4-8. This alleged injury cannot satisfy the requirements for Article III

standing. To begin, Petitioners’ fear of vote dilution is entirely conjectural. As the State Board



2       By focusing their arguments solely on the All Writs Act, Petitioners seem to agree with
State Respondents that their claim under 28 U.S.C. § 1361, the Mandamus Act (Pet. ¶¶ 209-27),
is not directed to the State Board.


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explained in its opening brief, Petitioners offer no nonconjectural basis for believing that the

2024 election will be marred by voting irregularities or fraud. Br. 7-8. Indeed, Petitioners

double down on the speculative nature of their injury by describing it only as a “reasonable . . .

fear[] that the demonstrated and pled issues which occurred in the 2022 federal election in North

Carolina will reoccur.” Opp. 7. A bevy of courts have dismissed claims based on less

speculative injuries. Br. 7-8.

       Next, Petitioners argue that their injury is sufficiently particular even though it is widely

shared by all qualified voters. Opp. 5 (citing Fed. Election Comm’n v. Akins, 524 U.S. 11, 24

(1998); Mass. v. EPA, 549 U.S. 497, 517 (2007)). But neither of the cases they cite actually

validates Petitioners’ alleged injury. The Supreme Court’s standing analysis in Massachusetts v.

EPA turned on the “special solicitude” afforded to plaintiff-States in protecting their quasi-

sovereign interests. 549 U.S. at 520. Petitioners, of course, can assert no such interests here.

       In Akins, the Supreme Court held that a group of voters had suffered a cognizable injury

when the FEC decided not to classify a particular organization as a political committee (which

would have subjected it to certain disclosure requirements) because that decision shielded certain

information from the voters that they alleged they were legally entitled to. 524 U.S. at 21.

Though this informational injury was “widely shared,” the Court held that it was not too

generalized because the harm that the plaintiffs alleged was sufficiently “concrete.” Id. at 24.

Whereas “widely shared” injuries are often too “abstract” to satisfy Article III, the Court said,

more “concrete” injuries—like an inability to access critical political information—can suffice.

Id. at 23-25. Petitioners here, by contrast, allege the kind of “abstract and indefinite” injury that

Akins resists. Though they fail to articulate a clear theory of harm, the injury that they allege

seems to be a generic suspicion that the State Board has failed to enforce various voting laws




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correctly, to the detriment of “all legally registered voters.” Opp. 7. Akins says nothing to

endorse that kind of vague, abstract harm.

       Finally, Petitioners claim that their injury is sufficiently particular because they alone

pursued this lawsuit (as opposed to “the whole community”). Opp. 7-8. But, of course,

constitutional standing is not about who or how many people pursue a given claim, but rather

who and how those people have been injured by the defendants’ conduct. And the petition

contains no allegations that Petitioners are injured in any way that distinguishes them from every

other qualified voter. Petitioners’ lawsuit should be dismissed.

               2.      United Sovereign Americans Cannot Establish Organizational or
                       Associational Standing.

       Petitioners’ brief claims—without citing any support—that United Sovereign Americans

has associational standing because Yost is a member, has performed some manner of

investigation into alleged voting violations, and would have standing to sue in his own right.

Opp. 7. But the petition itself never actually alleges that Yost is a member of United Sovereign

Americans. Indeed, it is devoid of any allegations that the organization has any members at all.

Br. 10. Petitioners cannot use their brief to fill gaps in their petition and avoid dismissal.

       Separately, Petitioners’ reliance on Yost’s and United Sovereign Americans’s alleged

investigation and subsequent litigation to confer standing is also misplaced. Opp. 7. Petitioners

cannot manufacture standing by expending resources on an investigation or litigation in response

to the government’s conduct. Lane v. Holder, 703 F.3d 668, 675 (4th Cir. 2012); see also People

for the Ethical Treatment of Animals, Inc. v. Tri-State Zoological Park of W. Md., Inc., 843 F.

App’x 493, 497 (4th Cir. 2001) (“PETA did not allege or prove that its injury consisted of the

costs associated with the instant lawsuit, but, rather, satisfied Havens Realty by alleging and

proving that Defendants’ actions impaired its ability to carry out its mission combined with a



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consequent drain on its resources.”). And that is precisely what Petitioners have done here—

their claimed injury directly emanates from the purported investigation and analysis that

underpin their allegations in their petition.3

        Finally, United Sovereign Americans has not alleged facts sufficient to prove standing in

its own right. Petitioners’ brief argues that the “interests at stake relate to the heart of [United

Sovereign Americans] as its mission is to ensure all Unite[d] States elections are fair, accurate,

and trustworthy.” Opp. 7. But, again, this is an allegation that shows up for the first time in

Petitioners’ briefing. Their petition itself is entirely bereft of allegations describing what the

organization’s mission is. Br. 10. Moreover, this one sentence does not describe what the

organization's core activities are and how Respondents’ actions have impacted them. See, e.g.,

Ariz. All. for Retired Ams. v. Mayes, No. 22-16490, 2024 U.S. App. LEXIS 23963, at *25-26

(9th Cir. Sept. 20, 2024) (rejecting standing where complaint failed to state specific facts

showing that defendant’s actions frustrated the plaintiff organization’s core activities); see also

Br. 11.4 Without at least that, Petitioners cannot establish standing.

                3.      Petitioners’ injuries are not redressable.

        Finally, Petitioners’ arguments confirm that they have failed to satisfy the redressability

requirement of Article III.

        Neither Petitioners’ petition nor their brief explains what steps they are asking the State

Board to take to resolve their concerns. See Br. 13. Indeed, Petitioners underscore that they are

not asking this Court for an order telling the State Board “how to perform its job. Petitioners


3       This is also why Yost does not have standing to sue on his own either. The only injury
Petitioners allege as to him specifically is through his role in this litigation.
4        Even if the petition had stated the organization’s core mission as ensuring that elections
are fair, that would not be sufficient to maintain standing because it is too generic. See supra pp.
3-4.


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seek court intervention to require Respondent simply to do its job and take whatever action

Respondent considers appropriate in order to comply with Congressional mandates.” Opp. 9.

But therein lies the problem.

       For its part, the State Board has faithfully followed federal and state law in conducting

elections and it does not believe that any widespread error or fraud occurred in 2022. See also

Br. 13. For that reason, to the extent that Petitioners ask the State Board to do its job and comply

with the law, the State Board has already done so. A writ from this Court ordering compliance

with the law would be wholly superfluous.

       In their motion-to-dismiss briefing, Petitioners do also ask this Court to order the State

Board to report “how it is possible that in 2022, various North Carolina county boards of

elections could possibly have certified a federal election where more votes were counted than

ballots cast?” Opp. 9. Setting aside that the State Board categorically denies this allegation,

Petitioners’ request appears nowhere in their petition. Petitioners cannot attempt to remedy the

deficiencies with their amorphous mandamus claim as framed in their petition by introducing

new requests for relief in their response brief.

II.     The Petition Should Be Dismissed for Laches.

       Petitioners have unreasonably delayed in filing this petition. They do not dispute that

their claim stems from voting patterns in the 2022 general election or that they waited until

August 2024 to raise their claim. Opp. 14-15. This alone counsels in favor of dismissal.

       They also mischaracterize the prejudice that the State Board will suffer if Petitioners are

granted their relief. Petitioners say the State Board is arguing that fixing any alleged

discrepancies “would be too cumbersome.” Opp. 15. That is not right. Rather, the State Board

has argued that Petitioners’ belated demand that the agency fundamentally alter its election-

administration practices, even while the election was already ongoing, will have unduly


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prejudicial effects. In fact, given that voting in the 2024 General Election is now over,

Petitioners effectively ask the State Board to retroactively impose ill-defined changes on an

already-run election during the post-election certification period. Laches bars a late-breaking

request of that kind, which would prejudice both the State Board and the voters of North

Carolina.

III.    Petitioners Have Not Stated a Claim for Which Relief Can Be Granted.

        Finally, Petitioners have failed to state a proper claim for mandamus.

        For one thing, they have no response to State Respondents’ arguments that Petitioners

have alternative paths to relief under HAVA and the NVRA. Br. 18-19. Those alternative

remedies, alone, are fatal to their mandamus claim.

        For another, Petitioners have failed to allege that they have a clear right to their requested

relief and that the State Board has a clear duty to provide their desired remedy.

        First, as the State Board argued in its opening brief, relief under the All Writs Act is

available only “in aid of” jurisdiction. Br. 17. Petitioners have not alleged or argued that they

are invoking this provision as incidental to another claim over which the court has jurisdiction.

        Second, federal courts cannot grant mandamus relief in response to federal claims against

state officials. See Br. 16 (collecting cases). Petitioners seem to suggest that this rule does not

apply because the State Board is a “quasi-federal agency subject to Congressional oversight.”

Opp. 11. But the cases Petitioners cite do not support this view. Rather, they all involve federal

causes of action brought under other federal statutes, not under the All Writs Act. They therefore

stand for nothing beyond the unremarkable proposition that a federal court can require state

actors to comply with federal law when a plaintiff brings suit pursuant to a federal cause of

action. Petitioners identify no case in which a federal court has recognized a right to secure a




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writ of mandamus against state officers because they have somehow transformed into federal

officers by complying with federal law.

       Third, none of the provisions Petitioners rely on provides a clear right to their requested

remedy. One provision requires the “error rate of [a] voting system in counting ballots” to

comply with federal requirements. 52 U.S.C. § 21081(a)(5). Another requires that voting

systems “shall . . . provide the voter with the opportunity . . . to change the ballot or correct any

error.” Id. § 21081(a)(1)(A)(ii). And finally, a third requires each State to “conduct a general

program that makes a reasonable effort to remove the names of ineligible voters” from the

State’s voter rolls. Id. § 20507(a)(4). But even accepting that these statutes impose certain

obligations on the State Board, none of them purports to require the State Board to give

Petitioners the precise relief they seek.

       Nor have Petitioners alleged that the State Board has failed to take a required ministerial

action. Petitioners insist that the State Board’s actions do not comply with certain federal laws,

but they do not allege how the State Board has failed to comply with its responsibilities under

HAVA and the NVRA. By failing to show how the State Board is violating a ministerial

requirement, Petitioners cannot establish that the State Board has a clear duty to provide

Petitioners’ requested relief.

                                             CONCLUSION
       Because Petitioners seem to agree with the State Respondents that Attorney General Stein

is not a proper defendant in this action, State Respondents respectfully ask this Court to dismiss

him from this suit. In addition, for the foregoing reasons, the State Respondents ask this Court to

dismiss the sole claim against the State Board with prejudice.

       Respectfully submitted, this the 7th day of November, 2024.

                                                Sarah G. Boyce


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            CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.2(f)(3)
       Undersigned counsel certifies that this memorandum of law complies with Local Rule

7.2(f)(3) in that the brief, including headings, footnotes, citations, and quotations, contains no

more than 2,800 words as indicated by Word, the program used to prepare the brief.

       This the 7th day of November, 2024.

                                               /s/ Sripriya Narasimhan
                                               Sripriya Narasimhan
                                               Deputy General Counsel




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                                CERTIFICATE OF SERVICE
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       This the 7th day of November, 2024.

                                             /s/ Sripriya Narasimhan
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